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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
RCC FABRICATORS, INC.               :  CIVIL ACTION
                  Plaintiff          :
      v.                             :
UMOJA ERECTORS, LLC                 :  No. 17-5304-TR
NORTH AMERICAN SPECIALTY             :
      INSURANCE COMPANY             :
                  Defendants         :
____________________________________:

                                            ORDER

       AND NOW, this 14th day of September           , 2021, upon consideration of the Motion to

Stay Execution of the Judgment Pending Appeal and to Approve Supersedeas Bond and any

response thereto, it is hereby ORDERED and DECREED that the motion is GRANTED. The

supersedeas bond proffered by Defendant North American Specialty Insurance Company

(“North American”), in the amount of $215,606.33, is HEREBY APPROVED. Execution

upon the Order entering Judgment in favor of RCC Fabricators, Inc. and against North American

dated August 13, 2021, is HEREBY STAYED pending disposition of North American’s appeal

from said Order before the United States Court of Appeals for the Third Circuit.


                                            BY THE COURT:

                                              /s/ Timothy R. Rice
                                            __________________________________
